                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: JAMES P. HAFNER                      )              Case No.: 17-82779-CRJ-7
       SSN: xxx-xx-4908                     )
                                            )
       SUSAN D. HAFNER                      )
       SSN: xxx-xx-5652                     )              Chapter 7
                                            )
                                            )
Raymond Crumpton,                           )
                                            )
       Plaintiff,                           )              Adversary Proceeding
                                            )              No.: 17−80105−CRJ
                                            )
v.                                          )
                                            )
James Palmer Hafner,                        )
                                            )
       Defendant.                           )

          MOTION FOR ABSTENTION AND STAY OF THIS PROCEEDING
               TO ALLOW MOVANT TO LIQUIDATE HIS CLAIMS
            AGAINST THE DEBTOR IN STATE COURT AND RETURN
                TO THIS COURT TO SEEK JUDGMENT UNDER
               SECTION 523 BASED ON FINDINGS AND/OR JURY
         VERDICT(S) OF TRIERS OF FACT IN THE STATE COURT ACTION

       COMES NOW Raymond Crumpton (“Plaintiff” and “Mr. Crumpton”), a creditor in the
above-styled Chapter 7 case, and respectfully represents:

                                         Background

        1.    On April 26, 2017, Mr. Crumpton filed a timely Complaint in the Circuit Court of
Jefferson County, Alabama, seeking compensatory and punitive damages from James Palmer
Hafner (“Debtor” and “Mr. Hafner”) and his employer for, among other counts, the Debtor’s
willful and wanton actions that proximately caused a serious traffic collision.

       2.      On September 18, 2017, Mr. Hafner and his wife, Susan D. Hafner, filed a
voluntary petition under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. § 101 et seq.
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Northern District of
Alabama, Northern Division (the “Bankruptcy Court”).




Case 17-80105-CRJ        Doc 4    Filed 12/13/17 Entered 12/13/17 12:07:00           Desc Main
                                  Document      Page 1 of 4
        3.     On December 7, 2017, Mr. Crumpton filed a timely adversary proceeding
Complaint asking this Court to determine that his claims against the Debtor in the state court
action should survive the Debtor’s discharge under § 523 of the Bankruptcy Code.

                                           Jurisdiction

       4.      This Court has subject matter jurisdiction to consider and determine this motion
pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       5.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         Requested Relief

        6.     By this motion, Mr. Crumpton requests that this Court abstain and stay this
pending dischargeability proceeding. Movant contends that mandatory abstention under 28
U.S.C. § 1334(c)(2) applies or, alternatively, moves the Court to exercise its discretion and
abstain under the permissive abstention provisions of 28 U.S.C. § 1334(c)(1).

       7.      Section 1334(c) provides as follows:

       (1) Nothing in this section prevents a district court in the interest of justice, or in
       the interest of comity with state courts or respect for state law, from abstaining
       from hearing a particular proceeding arising under title 11 or arising in or related
       to a case under title 11.

       (2) Upon timely motion of a party in a proceeding based upon a state law claim or
       state law cause of action, related to a case under title 11 but not arising under title
       11 or arising in a case under title 11, with respect to which an action could not
       have been commenced in a court of the United States absent jurisdiction under
       this section, the district court shall abstain from hearing such proceeding if an
       action is commenced, and can be timely adjudicated, in a state forum of
       appropriate jurisdiction.

       8.      There is ample precedent in the Alabama Bankruptcy Courts for the relief
requested in this motion. See. e.g., In re Perfect Home L.L.C. 231 B.R. 358, 361 (Bkrtcy.
N.D.Ala., 1999); Cassidy v. Wyeth-Ayerst Laboratories, 42 F.Supp.2d 1260, 1263 (M.D. Ala.
1999); In re Robino, 243 B.R. 472, 492 (Bankr. N.D. Ala. 1999); Hatcher v. Lloyd's of London,
204 B.R. 227, 234 (M.D. Ala. 1997); In re Norrell, 198 B.R. 987, 994 (N.D. Ala. 1996); In re
Wedlo, Inc., 204 B.R. 1006, 1018-1019 (Bankr. N.D. Ala. 1996); In re Roddam, 193 B.R. 971,
977-78 (Bankr. N.D. Ala. 1996).

        9.       In Mr. Crumpton’s state court action, the underlying claims are entirely based on
state law. They clearly can exist outside a bankruptcy proceeding because they were brought
prior to the filing of the petition. See, e.g., Baggett v. First Nat’l Bank of Gainesville, 117 F.3d
1342, 1353 (11th Cir. 1997) (“State courts, not federal courts, should be the final arbiters of state
law.”) (citation omitted).




Case 17-80105-CRJ         Doc 4     Filed 12/13/17 Entered 12/13/17 12:07:00             Desc Main
                                    Document      Page 2 of 4
        10.     The relief requested in the Motion is in the best interests of the Debtors’ estate,
their creditors, and other parties in interest as the Plaintiff’s tort claims will be addressed in the
most efficient forum (i.e., the state court that already has the case), and thereafter Mr. Crumpton
will return to this Court to assert his AP Complaint against the Debtor for non-dischargeability of
his judgment against the Debtor, if any.

      11.     Pursuant to Bankruptcy Rule 2002, the Plaintiff proposes to serve a copy of this
Motion upon the attorneys and parties set out in the certificate of service below.

         WHEREFORE, premises considered, the Plaintiff prays that this Court will enter an
Order:

         1. Abstaining and staying this pending dischargeability proceeding based on mandatory
            abstention under 28 U.S.C. § 1334(c)(2) or, alternatively, under the permissive
            abstention provisions of 28 U.S.C. § 1334(c)(1); and

         2. Allowing Mr. Crumpton after completion of the state court action to return to this
            Court to assert his AP Complaint against the Debtor for non-dischargeability of his
            judgment against the Debtor, if any; and

         3. Granting such further relief to the Plaintiff as this Court deems just and proper.

         Respectfully submitted, this 13th day of December, 2017.



                                              /s/ Tazewell T. Shepard
                                              Tazewell T. Shepard III
                                              Kevin M. Morris
                                              Tazewell T. Shepard IV
                                              Attorneys to Plaintiff

                                              SPARKMAN, SHEPARD & MORRIS, P.C.
                                              P. O. Box 19045
                                              Huntsville, AL 35804
                                              Tel: 256/512-9924
                                              Fax: 256/512-9837




Case 17-80105-CRJ          Doc 4     Filed 12/13/17 Entered 12/13/17 12:07:00            Desc Main
                                     Document      Page 3 of 4
                                CERTIFICATE OF SERVICE

       This is to certify that I have served the foregoing document upon James Palmer Hafner,
Debtor, 101 Misty Creek Drive, Meridianville, AL 35759; G. John Dezenberg, Attorney for the
Debtor, 908 N. Memorial Parkway, Suite C, Huntsville, AL 35801; William Reeves Andrews,
Attorney for Raymond Crumpton, Marsh Rickard Bryan, 800 Shades Creek Parkway, Suite 600-
D, Birmingham, AL 35209; Thomas A. Wheat IV, Attorney for Nationwide, Law Office of
Celeste P. Armstrong, 3000 Riverchase Galleria, Suite 900, Birmingham, AL 35244; and
Richard M. Blythe, Office of the Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602
by electronic service through the Court’s CM/ECF system and/or by placing a copy of same in
the United States Mail, postage pre-paid.

       Done this 13th day of December, 2017.


                                          /s/ Tazewell T. Shepard
                                          Tazewell T. Shepard




Case 17-80105-CRJ       Doc 4    Filed 12/13/17 Entered 12/13/17 12:07:00        Desc Main
                                 Document      Page 4 of 4
